                  Case 2:24-mj-30302-DUTY ECF No. 1, PageID.1
                                               AUSA:            Filed 07/30/24 Telephone:
                                                       Thomas Franzinger         Page 1 of   7 226-9774
                                                                                          (313)
AO 91 (Rev. ) Criminal Complaint            Special Agent:           James Richmond               Telephone: (313) 234-4000

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of Michigan

United States of America
   v.
Jose Ignacio MORENO SERVELLON                                              Case No. 24-30302
Diego David PONCE




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of                  July 28, 2024                in the county of               Wayne     in the
        Eastern          District of       Michigan        , the defendant(s) violated:
                   Code Section                                            Offense Description
21 U.S.C. §§ 841(a)(1), 846                             Conspiracy to distribute controlled substances
18 U.S.C. § 924 (c)                                     Possession of firearms in furtherance of drug trafficking




          This criminal complaint is based on these facts:
See attached affidavit




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                                     Special Agent James Richmond
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:   July 30, 2024                                                                         Judge’s signature

City and state: Detroit, MI                                                  Hon. Anthony P. Patti, U.S. Magistrate Judge
                                                                                            Printed name and title
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         AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

      I, James Richmond, Special Agent with the United States Drug Enforcement

Administration (DEA), being duly sworn, depose and state the following:

                                 INTRODUCTION

             Your affiant is a Special Agent of the DEA and has been so since

November 2016. Prior to the DEA, I served 4 years in the Marine Corps with the

Marine Occupational Specialty of an Infantry Officer. After completion of Infantry

Officer Course, I was assigned as a Rifle Platoon Commander, and later deployed to

Afghanistan, where I witnessed the cultivation and trafficking of opium.

             My official DEA duties include investigating criminal violations of

the federal narcotics laws, including, but not limited to, Title 21, United States

Code, Sections 841, 843, 846, and 848. I have received special training in the

enforcement of laws concerning controlled substances as found in Title 21 of the

United States Code. Some of the specialized training I have received includes, but

is not limited to, classroom instruction concerning narcotics smuggling, money

laundering investigations, conspiracy, complex investigations, and undercover. I

have been involved in various types of undercover assignments, and in various

drug investigations utilizing electronic surveillance, including the interception of

wire communications, the debriefing of defendants, witnesses, and informants, as

well as others who have knowledge of the distribution and transportation of


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controlled substances, the laundering and concealing of proceeds from drug

trafficking and the street gangs who participate in these illegal activities.

             As a result of these investigative activities, I have conducted and

participated in numerous investigations as a DEA Special Agent that have resulted

in the seizure of marijuana, prescription pills, synthetic drugs, cocaine,

methamphetamine, and heroin. I make this affidavit, in part, based on personal

knowledge derived from my participation in this investigation and, in part, based

upon information from oral and written reports about this investigation and others

that I have received from United States law enforcement officers and Special

Agents of the Drug Enforcement Administration. I am aware of the following

information from several sources, including but not limited to, my own personal

observations and participation in this investigation and my review and analysis of

oral and written reports.

             This affidavit is made in support of a criminal complaint for Jose

Ignacio MORENO SERVELLON and Diego David PONCE for possession with

intent to distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(1); attempt and conspiracy to commit the same, in violation

of Title 21, United States Code, Section 846; and possession of firearms in

furtherance of drug trafficking, in violation of Title 18, United States Code,

Section 924(c).

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             In May 2024, a confidential informant informed DEA that an

individual was attempting to sell him/her a distribution level quantity of

methamphetamine. Through independent investigation, the DEA corroborated

significant portions of the informant’s information and identified Jose Ignacio

MORENO SERVELLON as the person suspected of drug trafficking. DEA began

tracking MORENO SERVELLON’s movements through a warrant for the location

date from his cell phone.

             As a result of the DEA investigation, including from the location data,

on July 28, 2024, at approximately 7:50 p.m., DEA located a white Ford Transit

150 bearing Kentucky Temporary Plate “B933959”, in-vicinity of US 20 and I-75

South in Perrysburg Ohio. The white Ford Transit 150 proceeded to travel I-75

South in tandem with a S60 Volvo bearing Illinois Plate “EK15858”, at which time

the driver of the white Ford Transit 150 was positively identified as Jose Ignacio

MORENO SERVELLON. Both vehicles travelled in tandem Northbound 23 to I-

94 East, varying speeds both above and below the posted speed. The route and

driving behavior observed on this date is indicative of traffickers avoiding law

enforcement detection.

             At approximately 8:58 p.m., the Ford Transit 150 and the Volvo S60

pulled into the Home Depot parking lot located at 11100 Telegraph road, Taylor

Michigan (MI), and circle the lot until they parked on the East side of Del Taco

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located at 11386 Telegraph Road, Taylor MI. At that time MORENO

SERVELLON was observed exiting the driver’s side of the white Ford Transit

150, and proceeded to enter the front passenger side of the S60 Volvo. Based upon

the information obtained by DEA, Michigan State Police (MSP) and DEA agents

conducted a traffic stop of the S60 Volvo, at which time the driver of the S60

Volvo was positively identified by his California driver’s license as Diego David

PONCE. PONCE and MORENO SERVELLON were arrested by state law

enforcement officers for violations of state drug trafficking laws. During a search

of the S60 Volvo, agents/officer found a loaded Springfield Hellcat pistol on the

front center console, next to where PONCE had been sitting. An unloaded

Springfield Hellcat pistol was located on the front passenger floorboard where

MORENO SERVELLON had been sitting, with a loaded magazine, and a loose

9mm round on the floor.

             An MSP K-9 conducted an interior search of the white Ford Transit

150 and gave a positive indication on the interior cargo floorboard. A subsequent

search of the cargo compartment revealed an electronically controlled concealed

compartment containing a distribution level quantity of suspected packaged

methamphetamine, as depicted:




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             These various-sized plastic-wrapped packages were weighed at 55.47

gross kilograms and the contents were later field tested positive for crystal

methamphetamine.

                                  CONCLUSION

             Based on the facts stated above, there is probable cause to believe that

Jose Ignacio MORENO SERVELLON and Diego David PONCE have each

possessed with intent to distribute a controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1); attempt and conspiracy to commit the same,

in violation of Title 21, United States Code, Section 846; and possessed firearms in

furtherance of drug trafficking, in violation of Title 18, United States Code,

Section 924(c).

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                                      SA
                                       A James
                                         James Richmond
                                               Richmond
                                      Drug Enforcement
                                           E f       t Administration
                                                       Ad i i t



Sworn to before me and signed in my
presence and/or by reliable electronic means.




Honorable Anthony P. Patti
United States Magistrate Judge
July 30, 2024




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